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                            TRADE CHARTS
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                                                                         Report to the Yard Dispensary and «et l'ir.l Aid treatment
                                                                     for Injuries Immediately, no mutter how minor.
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